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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 10-0247CCC
 1) ROSA E. CASTRILLON-SANCHEZ
 2) ROSA E. SANCHEZ-MERCADO
 3) JORGE RIVERA-IZQUIERDO
 4) JACK O’DELL
 5) CARMEN Z. SOSA-BARRETO
 6) LUIS RODRIGUEZ-BARRETO
 7) NOEMI DELGADO-ALICEA
 8) LIMARIE AMALBERT-BIRRIEL
 9) AMARILYS PAGAN-ESTRELLA
 Defendant


                                         ORDER

       Having considered the Report and Recommendation filed on February 20, 2012
(docket entry 287) on a Rule 11 proceeding of defendant Limarie Amalbert-Birriel (8) held
before U.S. Magistrate Judge Marcos E. López on February 14, 2012, to which no
opposition has been filed, the same is APPROVED. Accordingly, the plea of guilty of
defendant Amalbert-Birriel is accepted. The Court FINDS that her plea was voluntary and
intelligently entered with awareness of her rights and the consequences of pleading guilty
and contains all elements of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since February 14, 2012. The sentencing hearing is set for May 16,
2012 at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on March 5, 2012.



                                         S/CARMEN CONSUELO CEREZO
                                         United States District Judge
